Case 3:17-cv-00739-BRM-LHG Document 21-13 Filed 03/06/17 Page 1 of 4 PagelD: 551

In The Superior Court of New Jersey - Law Division

Somerset County
Case Number: SOM - L - 70-17

Novel Laboratories, Inc.
Plaintiff
Vv.
KVK_Tech, Inc and Gator
Pharmaceuticals, Inc.
Defendant(s)

Verified Proof of Non-Service and
Affidavit of Due Diligence

 

State of Florida County of Saint Johns ss:

For: Hillel I. Parness, Esquire
Parness Law Firm PLLC 136 Madison Avenue, 6th Floor New York, NY. 10016 Phone: 646-526-8261

I, Velious C. Pope being duly sworn according to law upon my oath; depose and say, that I am
not a party to the above captioned case and I have no interest in the action; that | am over 18 and
reside in the State of Florida and;

That on 01/20/2017 04:06 PM came to hand and on 01/21/2017 01:05 PM, deponent attempted
service of the within named Memorandum of Law, Amended Order To Show Cause for
Temporary Restraining Order, Exhibit 1 through 14, Proposed Order, Lupin Attorney
Certification upon Gator Pharmaceuticals Inc., at 194 Inlet Drive St. Augustine, Florida
32080, according to New Jersey statutes, and the results were

NON-SERVICE: Upon Gator Pharmaceuticals, Inc. for the reasons noted below.

Service Details: 1/21/2017 1:05 PM at 194 Inlet Drive St. Augustine, FL There is no answer at the door. I
looked inside and I observed that the walls had been removed, and that there was sheet rock laying against
one of the walls. The refrigerator door is wide open. The home appeared to be in a state of distress, but not
vacant. There was furniture. I went to the little house in back of the home and there was a female residing
there, Betty Mathin, a white female, 5'2", 130 lbs, white hair, 70-80 years old. She stated that she rents the
2nd home from the owner. She stated that the main house was damaged by the storm and no one can live in
there until it is fixed. I also went to 196 and 199 Inlet Drive but there was no answer. I went to 200 Inlet
Drive and the male stated that he does not know anything. Ms. Mathin stated that the owner is now living in

Pennsylvania.

I do hereby certify that I have read this Verified Proof of Service and that the facts stated in it are true.

 
 
 
    
 

 

 

 
 
   

Sworn to and subs g ibed before me on Appointed Per 48.021 (2) (A) (3) (4) FS.
Slaw? , 2017 ai |
] Ny
‘ s hide 2 = Ext
NOTARY PUBLIC Velious C. Pope, Special ProcessServer #39
: 11th Hour Professional Process Servers
KRISTEN ADAM 450 SR 13 Suite 106
MY COMMISSION # FF 996788 Saint Johns, FL. 32259

: i: EXPIRES: Septemiber 26, 2020
ORL SESS Ss onded Thru Notary Public Underwriters

 
  

Phone 904.891.3900

   

 

 
Case 3:17-cv-00739-BRM-LHG

PAUL J BURLAGA

Gender - Male

3306 SCHOOL RD
KINTNERSVILLE, PA 18930-9520

SSN - 185-26-xxxx
LexID - 328483504

DOB/Age -
01/1935 (82)

Dates - Jan 1990 - Jan 2017
Phones -
610-346-8434 - EST - BURLAGA PAUL J JR

Document 21-13 Filed 03/06/17 Page 2 of 4 PagelD: 552

 
Case 3:17-cv-00739-BRM-LHG Document 21-13

Filed 03/06/17 Page 3 of 4 PagelD: 553

 

 

Detail by Entity Name

Florida Profit Corporation
GATOR PHARMACEUTICALS, INC.

Filing Information

Document Number P11000100606
FEWVEIN Number XX-XXXXXXX

Date Filed 11/22/2011

State FL.

Status ACTIVE

Last Event REINSTATEMENT
Event Date Filed 02/12/2014

Principal Address

194 INLET DR

ST AUGUSTINE, FL 32080-3813

Mailing Address

194 INLET DR

ST AUGUSTINE, FL 32080-3813

Registered Agent Name & Address

BURLAGA, PAUL
194 INLET DR
ST AUGUSTINE, FL 32080-3813

Officer/Director Detail

Name & Address
Title D
BURLAGA, PAUL

194 INLET DR
ST AUGUSTINE, FL 32080-3813

Annual Reports

Report Year Filed Date
2015 06/04/2015
2016 04/29/2016
2017 01/18/2017

Document Images

01/18/2017 — ANNUAL REPORT View image in PDF format

04/29/2016 — ANNUAL REPORT View image in PDF format

 

06/04/2015 —- ANNUAL REPORT View image in PDF format

—— et

04/25/2012 —- ANNUAL REPORT View image in PDF format

 

11/22/2011 — Domestic Profit View image in PDF format

 

 

 

 
Case 3:17-cv-00739-BRM-LHG Document 21-13 Filed 03/06/17 Page 4 of 4 PagelD: 554

, —_—

ge
ST. JGHNS COUNTY
TAX COLLECTOR

   
     
 

“ch ] (gag) Physical Address
>) a)

lofi

 

Tax Record

Last Update: 1/20/2017 5:08:46 PM EST

 

Tax Record

   

Register for eBil
Ad Valorem Taxes and Non-Ad Valorem Assessments

The information contained herein does not constitute a title search and should not be relied on as such,

 

        

  

t 1c
Physical Address

 

 

 

Mailing Address

BURLAGA PAUL J JR

194 INLET DR

SAINT AUGUSTINE FL 32080-3813

 

Legal Description

 

 

_214220-00000

 

17-07-30 .31 Acres 3-97 DAVIS SHORES LOTS 16 & 17 BLK 2 OR1442/978 BLK 2 OR1442/978

 

  

 

 

REALESTATE

 

Physical Address
194 INLET DR

 
   

a $50,000.00 $135,447.00 |
Exemption Detail Millage Code Escrow Code i

HB 25000 452

ta HX 25000 i

    

 

. ; Assessed Exemption Taxable Taxes’
preci AAney Value Amount Value Levied =
COUNTY i
| GENERAL 5.1200 185,447 50,000 $135,447 $693.49 |
ROAD 0.7300 185,447 50,000 $135,447 $98.88 |
“HEALTH 0.0171 185,447 50,000 $135,447 $2.32 |
SCHOOL

/SCHOOL - STATE LAW 4.6190 185,447 25,000 $160,447 $741.10
SCHOOL - LOCAL BOARD 2.2480 185,447 25,000 $160,447 $360,68 ©

'SIRWMD 0.2885 185,447 50,000 $135,447 $39.08
MOSQUITO 0.2150 185,447 50,000 $135,447 $29.12 |
CITY OF ST AUGUSTINE 7.5000 185,447 50,000 $135,447 $1,015.85 |
_FLINLAND NAV DISTRICT 0.0320 185,447 50,000 $135,447 $4.33 -
PORT AUTHORITY 0.0638 185,447 50,000 $135,447 $8.64
. Total Millage $2,993.49 ©

 

 

 
